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                                               UNITED STATES DISTRICT COURT                             U.S. OISl RICT COUR, ,
                                                          FOR THE                                      DISTRICT OF VERMO
                                                                                                                   FILED
                                                   DISTRICT OF VERMONT
                                                                                                       2016 JUN -3 PH 2=
                        TODD NORRIS,
                                   Plaintiff,                                    Docket No.                    ~,


                                 V.                                             z: \lo-cv-l't7sv~~~-
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                        PROGRESSIVE INSURANCE COMPANY,
                                   Defendant.

                                          COMPLAINT AND JURY TRIAL DEMAND

                                                           PARTIES

                        1. Plaintiff, Todd Norris, is over 18 years old and a resident of Addison
                           County, Vermont

                        2. Defendant Progressive Insurance Company is a corporation doing business in
                        the State of Vermont with its principal place of business in the State of Ohio.

                                                  JURISDICTION AND VENUE

                        3. The amount in controversy exceeds $75,000, exclusive of interest and costs.

                        4. This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a).

                        5. Venue is proper pursuant to 28 U.S.C. § 1391(a)(2), since the events giving rise
                           to Plaintiffs claim occurred in the District of Vermont.

                                                        CAUSE OF ACTION

                                           UNINSURED MOTORIST COVERAGE

                        6. On June 4, 2013, Plaintiff was a passenger in a motor vehicle operated by
                           Gabriel Bloksberg in Brandon, Vermont.

                        7. As Bloksberg drove down Country Club Road, he lost control of the vehicle.

                        8. After Bloksberg lost control of the vehicle, the vehicle went off the road and
JARVIS, McARTHUR

    &WILLIAMS
                           rolled over several times.
 ATTORNEYS AT LAW

SUITE 2E - PARK PLAZA   9. Plaintiffwas ejected from Bloksberg's vehicle.
 95 ST. PAUL STREET

    P. 0. BOX902        10. As a direct result of the accident, Plaintiff suffered bodily injuries and had to be
   BURLINGTON, VT
                            taken to a nearby hospital by ambulance.
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                        11. The accident was caused exclusively by Bloksberg's negligent failure to
                            maintain control of his motor vehicle in violation ofVermont law.

                        12. As a consequence ofBloksberg's negligence, Plaintiffhas suffered serious
                            physical injuries, and has incurred medical bills in excess of $25,000 which he
                            claims as special damages.

                        13. Plaintiffs physical injuries have interfered with his ability to work, resulting in
                            lost income, both past and future, which he claims as spt:cial damages.

                        14. Defendant Progressive Insurance Company provided underinsured automobile
                            insurance to Plaintiff through motor vehicle insurance policies they sold to
                            Plaintiffs mother. As a member of his mother's household and family,
                            Defendant's insurance policy defined Plaintiff as an insured person for the
                            purposes of an underinsured motorist claim.

                        15. Before settling his claim with Bloksberg's insurance carrier, Plaintiff obtained
                            Defendant's permission to settle that claim as required by Progressive's
                            insurance contract.

                        16. Defendant Progressive Insurance Company therefore has a contractual
                            obligation to compensate Plaintiff for pain and suffering, both temporary and
                            permanent, loss of enjoyment of life, permanent impairment of physical
                            function, emotional harm, his reduced earning capacity, and past and future
                            medical expenses.

                                  WHEREFORE, Plaintiff seeks compensation under the insurance contract with

                        Defendant Progressive Insurance Company for any and all damages he incurred as a result

                        of the June 4, 2013 motor vehicle accident, including but not limited to, medical bills, lost

                        wages, pain and suffering, loss of enjoyment of life, his reduced earning capacity, and

                        bodily injuries both temporary and permanent, and any other relief that the Court finds just.


                        Plaintiff hereby demands a trial by jury.

                                  DATED at Burlington, Vermont this yct day of June, 2016.



JARVIS, McARTHUR

    &WILLIAMS

 ATTORNEYS AT LAW                                                B oks McArthur, Esq.
SUITE 2E - PARK PLAZA

 95 ST. PAUL STREET

    P. 0. BOX 902

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    802-658-9411                                                 Counsel for Plaintiff, Todd Norris
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